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                                           July 13, 2020

VIA ECF

The Honorable Freda L. Wolfson, U.S.D.J.
United States District Court
Clarkson S. Fisher Building and U.S. Courthouse
402 East State Street, Courtroom 5E
Trenton, New Jersey 08608

       Re:     In re: Application of California State Teachers’ Retirement System for an
               Order Pursuant to 28 U.S.C. § 1782 Granting Leave To Obtain Discovery for
               Use in a Foreign Proceeding, No. 3:19-16458 (FLW) (DEA)

Your Honor:

        This law firm represents Novo Nordisk, Inc. (“NNI”) in the above-referenced matter. We
write in response to the letter filed by counsel for California State Teachers Retirement System
(“CalSTRS”), Mr. Ari Weisbrot, on July 10, 2020 (ECF No. 31). Although we regret to burden
the Court with another submission on this matter, I am compelled to correct the record on a number
of points.

        On June 18, 2020, NNI filed its appeal of two Orders issued by Judge Arpert. ECF No.
27. The appeal has a return date of July 20, 2020, which means that CalSTRS’s opposition was
due on July 6, 2020. Notably, NNI filed its motion eight days earlier than was necessary, giving
CalSTRS an extra eight days to prepare and file its response. CalSTRS did not file its response on
July 6. Instead, CalSTRS filed its response (an opposition and cross-appeal) at around noon on
July 7, 2020. ECF No. 29. For reasons unknown, the filing was styled as a “motion to compel.”
Mr. Weisbrot did not contact me or any of my co-counsel, either by phone or email, to seek extra
time, or even to let us know his filing would be delayed, at any time prior to filing the opposition
and cross-appeal. Had he done so, NNI’s Motion to Strike would not have been necessary. I
certainly would have accommodated an extension request, had any been made, as I have done
throughout my career.

        NNI filed its Motion to Strike on July 8, 2020. ECF No. 30. On the morning of July 9,
2020, Mr. Weisbrot contacted me by phone. He threatened that if NNI did not withdraw its Motion
to Strike, he would file a letter with the Court that would “embarrass” me and that he would seek
sanctions. He represented to me that he was unable to file his opposition and cross-appeal on-time
because of a power outage at his home resulting from a thunderstorm, and as a result of the family
medical issue he references in his letter. He told me that he we was unable to contact me to seek
an extension or to notify us that his filing would be late because his cell phone ran out of power.

       In reliance on Mr. Weisbrot’s representations, I agreed to enter into a stipulation that
would: (i) give NNI until July 27, 2020 to file its response to CalSTRS’s opposition and cross-


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appeal—an extension this District’s Local Rules contemplate in any event—and (ii) moot NNI’s
Motion to Strike. With that, I thought the matter was well on its way toward resolution. I was
wrong.

        My firm prepared a draft stipulation and, later that day, my colleague emailed it to Mr.
Weisbrot for his review and approval. The draft stipulation was innocuous. It memorialized the
date CalSTRS’s opposition was due, the date it was filed, and the reasons Mr. Weisbrot had
identified to me over the phone for the late filing. But, Mr. Weisbrot refused to accept it. He
responded with a revised proposed stipulation. He noted in his cover email an objection to
disclosing his family medical issue. However, his revised stipulation proposed a number of
additional changes for which no explanation was offered. Specifically, the removal of any
acknowledgement that Mr. Weisbrot’s filing was late, and any recitation of the reasons he had
identified for that late filing (i.e., the reasons his neglect might be excusable).

        We were, of course, willing to remove from the stipulation any reference to a medical issue.
However, we believed it appropriate that the stipulation memorialize that CalSTRS’s filing was
late (to avoid any suggestion that NNI’s Motion to Strike was not validly grounded) and we
believed it necessary to memorialize the reasons Mr. Weisbrot had identified for his late filing
(other than the medical issue) so as to enable this Court to sign an order accepting it. As the Court
is aware, and as NNI made clear in its Motion to Strike, absent a showing of excusable neglect,
the Court lacks discretion to accept a late filing where no extension request has been made before
its due date. Drippe v. Tobelinski, 604 F.3d 778, 784 (3d Cir. 2010) (“[T]here is no discretion to
grant a post-deadline extension absent a motion and showing of excusable neglect.”).

       Thus, we sent Mr. Weisbrot another proposed stipulation. That proposed stipulation is
attached as Exhibit A to this letter. As the Court will observe, there is no statement in that
document that Mr. Weisbrot has not himself publicly disclosed in his letter to the Court. And,
when we spoke on the morning of July 9, Mr. Weisbrot told me he planned to include each of those
statements, and more, in a public filing. Mr. Weisbrot’s response to that document was as
unexpected as it was unpleasant. Instead of the consent we were expecting, Mr. Weisbrot
responded as follows:

        “Nah. I[’]ll give you 60 minutes to accept my proposed language. Then, I will file my
own letter motion and seek sanctions. Let me know.”

        To borrow a phrase from Mr. Weisbrot, I was surprised and disheartened to receive this
email. I am proud of the reputation this bar has established for congeniality and civility and I have
come to expect much better of its members than threats of sanctions and ultimatums in response
to civil discourse. The complete chain of communications with Mr. Weisbrot (redacted to omit
one medical detail Mr. Weisbrot has not disclosed) is attached as Exhibit B to this letter.

       As is evident from the attached, Mr. Weisbrot’s representations to this Court that we
refused to moot the Motion to Strike unless he “disclosed very personal information” or that we


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conditioned mooting the motion on “other unnecessary and onerous demands” are simply, and
indisputably, false. There is not a single word in our proposed stipulation that Mr. Weisbrot has
not himself disclosed. And, Mr. Weisbrot has yet to identify for us any aspect of our proposed
stipulation that is inaccurate, that would reveal personal information, that is unnecessary, or that
is onerous. Mr. Weisbrot’s refusal to consent to its entry, and his unfortunate vitriol in response
to it, remains a complete mystery to us. As is also evident from the attached, Mr. Weisbrot’s actual
communications with us are markedly different than his letter to this Court suggests.

        Nor is this the first time Mr. Weisbrot’s communications with us have been unreasonable
and discourteous. In fact, Mr. Weisbrot’s very first email introducing himself threatened sanctions
for contempt and a motion seeking fees. After NNI filed its motion to stay Judge Arpert’s Orders
pending appeal, Mr. Weisbrot took the position that he could compel compliance with those orders
even while a motion to stay them was pending. In response to a request for authority to the
contrary, we sent him an email identifying eleven cases supporting our position. He responded
that he is “notoriously impatient with long emails that don’t answer the question.” A copy of that
email correspondence, which includes Mr. Weisbrot’s introductory email threatening sanctions for
contempt and a motion seeking fees, is attached as Exhibit C to this letter.

        In sum, we have done all that we can to negotiate with Mr. Weisbrot a factually accurate
stipulation sufficient to enable this Court to accept his untimely filing. That stipulation is attached.
We continue to fail to see any aspect of it that is inappropriate or objectionable. If Mr. Weisbrot
remains intractable, we have no choice but to stand by our Motion to Strike. As we tried to explain
to Mr. Weisbrot, we cannot accept his proposed stipulation because it is misleading and not
sufficiently detailed to accomplish its goal.

       Thank you for Your Honor’s kind attention. Please do not hesitate to have the Court’s staff
contact me with any questions or if I may be of any service to the Court whatsoever.


                                                       Respectfully submitted,

                                                       s/ Michael R. Griffinger

                                                       Michael R. Griffinger


cc: All Counsel of Record (via ECF)




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